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 9   and Lead Counsel for the Class
10
                              UNITED STATES DISTRICT COURT
11                          NORTHERN DISTRICT OF CALIFORNIA
12

13   DANIEL VALENTI, Individually and On Behalf    Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
14                                                 [PROPOSED] ORDER REGARDING
                                Plaintiff,         PLAINTIFF’S MOTION TO DISMISS
15                                                 PAGE LIMITS
                  v.
16
     DFINITY USA RESEARCH LLC, DFINITY
17   FOUNDATION, and DOMINIC WILLIAMS,

18                              Defendants.

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     [PROPOSED] ORDER REGARDING PLAINTIFF’S MOTION TO DISMISS PAGE LIMITS –
                              No. 3:21-cv-06118-JD
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 1         The Court has before it Lead Plaintiff Henry Rodriguez’s motion to extend the page limits
 2   of its opposition to Defendants’ motion to dismiss pursuant to Local Rule 7-11. Based on the
 3   reasons set forth in Plaintiff’s motion,
 4         IT IS HEREBY ORDERED that Plaintiff’s motion is GRANTED.
 5          1.     Plaintiff’s opposition brief may not exceed 20 pages
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     DATED: __________________                  _____________________________________
 8                                              Hon. James Donato
                                                United States District Court Judge
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     [PROPOSED] ORDER REGARDING PLAINTIFF’S MOTION TO DISMISS PAGE LIMITS –
                              No. 3:21-cv-06118-JD
